Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page1o

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION
IN RE: FEMA TRAILER ) MDL NO. 1873
FORMALDEHYDE )
PRODUCT LIABILITY LITIGATION )
)
) SECTION: N(4)
)
) JUDGE: ENGELHARDT
THIS RELATES TO: ) MAG: ROBY
)
Plaintiff: )
Melwyn Clayton 0/B/0 Dag CRE ,
PLAINTIFF FACT SHEET

I, INSTRUCTIONS

IT IS VERY IMPORTANT FOR YOU TO COMPLETE THIS FORM IN ITS ENTIRETY
IN ORDER TO PROTECT YOUR CLAIM. THIS FORM MUST BE COMPLETED AND
RECEIVED BY JUNE 18, 2008 OR YOU WILL NOT BE ABLE TO PARTICIPATE IN
THIS LITIGATION. ONCE COMPLETED, PLEASE IMMEDIATELY RETURN THIS
FORM TO YOUR ATTORNEY.

Please provide the following information for each person claiming a formaldehyde related
injury as a result of living in a travel trailer or mobile home provided by FEMA after Hurricanes
Katrina and Rita in August and September, 2005. A separate Plaintiff Fact Sheet must be
completed for each individual claiming exposure te formaldehyde. For example, a parent
must complete a separate form for each minor child and a personal representative must
complete a separate form for each deceased person. Whether you are completing this fact
Sheet for yourself or for someone else, please assume that “You” means the person who resided
in or lived in the housing units.

If additional space is needed for any response, please attach additional sheets. If the
person completing this Fact Sheet does not know or does not recall the information requested in
any question, that response should be entered in the appropriate location.

EXHIBIT

E

tabbies”

Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 2 of 19

PERSONAL INFORMATION

Name (person completing form);Melwyn Clayton

Maiden or other names used or by which you have been known: n/a

Current Street Address: 2012 Tuskeegee Dr Marrero, LA 70072

yo Oo mw >

Home Telephone No.: 504-347-5408

Cell Phone No.: 504-355-7262

Work Telephone No:_ n/a

Other Telephone Nos.:n/a

E. Email address: 0/a

I. CASE INFORMATION

A. If you are completing this questionnaire in a representative capacity (for
example, on behalf of the estate of a deceased person or on behalf of a minor),

please complete the following information on such person:

1. State which individual or estate you are representing:
DEC

2. Maiden Or Other Names Used or By Which Such Person Has Been
Known:
n/a

3 Address (or last known address if deceased);

2012 Tuskeegee Dr Marrero, LA 70072

4, Home Telephone No.:304-347-5408

Cell Phone No.: 504-355-7262

Work Telephone No:_n/a

Other Telephone Nos.n/a

5. E-mail address: n/a

If you were appointed as a representative by a court, state the:
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 3 of 19

Court: Parish of Jefferson Date of Appointment:6/26/2007

7. What is your relationship to the deceased or represented person or person
claimed to be injured? Grandmother

8. If you represent a decedent’s estate, state the date of death of the decedent
and the place where the decedent died:

n/a

B. Please state the name and address of the attomey representing you:

Anthony Buzbee_/ Buzbee Law Firm
Attorney’s Name/Law Firm
Galveston, TX 77550
City, State and Zip Code

C. Please state the following: (If you are a representative, please state this
information for each such person being represented):

1. Are you claiming that you have developed, or may have developed, a
disease or illness as a2 result of being exposed to formaldehyde while
residing in a FEMA-provided trailer or mobile home?

Yes [x] No

2. What is your understanding of the illness or disease you claim you have

developed, or may in the future develop, from living in a FEMA trailer or
mobile home?*i™: terrible muscle pain, constant cold symptoms

3. During the time that you lived in your FEMA trailer, did you experience or
report to a physician any of the following symptoms? If yes, place a check
mark (“’) by the symptom that you experienced.

EX] irritation to eyes [ ] tingling or swelling of lips or face area
burning of eyes (J headaches
tearing of eyes ["] nausea

imitation to nasal membranes (inside of nose) vomiting
burning of nasal membranes (inside of nose) — {_] bloody vomiting
bleeding of nasal membranes {inside of nose) abdominal pain

(X] irritation or itching of skin diarrhea

burning of skin difficulty in breathing
rashes on skin wheezing

[X] drying or scaling of skin ["] shortness of breath
["] scaling or itching of eyelids persistent cough

[_] irritation or swelling of eyelids or eye area [] tightness of the chest
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 4 of 19

[_] bronchitis

[_] throat irritation

[Xj hoarseness

L_] laryngitis

[_] pneumonia

{1 upper respiratory tract infections

[_] pulmonary edema

["] asthma attacks for the first time in your life

[-] asthma attacks that are recurrence of
childhood asthma

[“] allergies for the first time in your life

[[] worsening of allergies that you had previous

to living in FEMA trailer

[_] allergic contact dermatitis
[X]dizziness

| junconsciousness

Jeonvulsions or seizures

T |biood in urine

[jabnormal liver enzymes

| |nephritis (inflammation of kidneys)
[_llow blood pressure

[_ hypothermia (low body temperature)
[_|miscarriage or stillbirth
|_Jabnormal laboratory tests on blood
[_Jabnormal! laboratory tests on urine

Please list any other symptoms you have suffered as a result of residing in a
FEMA trailer (not listed above) and any conditions for which you have

been diagnosed by a physician.

sinus, muscle cramps

4. Since you moved into the FEMA trailer and up to the present date, have
you been diagnosed with cancer? No

If yes, which kind of cancer?
n/a

5. | When do you claim this injury or disease first occurred? unknown at this time

6. Did you ever suffer this type of illness or disease prior to living in the

FEMA trailer?
Yes [_] No

If “Yes,” when and who diagnosed the condition at that time?

n/a

7. . Do you claim that your use of a FEMA trailer or mobile home worsened a
condition that you already had or had in the past?

Yes] No

If “Yes,” set forth the illness, disease or condition; whether or not you had
already recovered from that illness, disease or condition before you began
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 5 of 19

tesiding in a FEMA trailer or mobile home and the date of your recovery, if
any. n/a

8. Are you claiming mental and/or emotional damages as a result of
residing in a FEMA trailer or mobile home?
Yes No]

If “Yes,” for each provider (including but not limited to primary care
physician, psychiatrist, psychologist, counselor, pastor or religious
counselor) from whom you have sought treatment for any psychological,
psychiatric or emotional problems during the last seven (7) years, state:

Name and address of each person who treated or counseled you:
NONE

To your understanding, describe the condition for which treated:
‘a

State when you were treated for this psychological, psychiatric or

emotional problem
n/a

List. the medications prescribed or recommended by the physician or

counselor
a

9. Are you making a claim for medical expenses as a result of the injury,
iliness or disease identified in C.2. above?
Yes No L]

If “Yes,” state the amount of your claim: Amt. to be Determined

Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 6 of 19

IV. BACKGROUND INFORMATION

A. Identify each address at which you have resided during the last five (5) years, and
list when you started and stopped living at each one:

Address

Dates of Residence

exact address unknown Alexandria, La

09/2005-11/2005

2012 Tuskeegee Rd Marrero, LA 70072

11/05TO PRESENT

B. State Driver’s License Number and State Issuing License:

n/a

C. Date and Place of Bir: _ <=

D. Sex: Male

Marrero, LA

Female (_]

E. Identify the highest level of education (high school, college, university or other
educational institution) you have attended (even if not completed), the dates of
attendance, courses of study pursued, and diplomas or degrees awarded:

Institution

Dates Attended

Course of Study

Diplomas or Degrees

nia

n/a

n/a

n/a

F. Employment Information

1.

Current employer (if not currently employed, state your last employer):

Name Address Dates of Occupation/Job Duties
Employment

wa wa wa n/a

2. List the following for each employer you have had in the last ten (10)
years:

Name Address Dates of Occupation/Job Duties
Employment

n/a n/a n/a

Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 7 of 19

3. Are you making a wage loss claim, or claim of lost earning capacity as a
result of your exposure to formaldehyde while residing in a FEMA trailer
or mobile home?

Yes [] No

if “Yes,” state the following:
a. If you are making a claim for lost earnings and/or lost earning

capacity, state your income from employment for each of the last
five (5) years:

b. Total amount of time which you have lost from work as a result of
any and all condition(s) related to residing in a FEMA trailer or
mobile home, and the amount of income that you lost:

n/a

G. Previous Claims Information

1. Have you ever filed a lawsuit or made a claim, other than in the present
suit, relating to any sickness or disease, excluding auto accidents?
Yes [] No] Don’t recall [7]

If “Yes,” state to the best of your knowledge the court in which such
action was filed, case name and/or names of adverse parties, and nature of

the sickness or disease.
n/a

Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 8 of 19

IV. FAMILY INFORMATION

A. To the best of your knowledge has any child, parent, sibling, or grandparent of
yours suffered from any type of disease [such as asthma, shortness of breath,
headaches, lung disease, liver disease, skin disease, neurological disease,
allergies, or cancer].

Yes {_] No[] Don’t Know
If “Yes,” provide the information below.
Name Relationship Current Age (or | Medical Cause of Death
Age at Death) _| Condition (if applicable)
Unknown at this time
B. Are you are claiming the wrongful death of a family member related to
formaldehyde?
Yes [_] No [x]
If “Yes,” state the name of the deceased and fill out a separate form for the
deceased.
Name: 0/a
Vv. FEMA TRAILER OR MOBILE HOME UNIT

Please respond to Sections V._A-E below, including all subparts, with respect to each
FEMA trailer or mobile home that you have resided in. Attach.additional sheets if
necessary.

A.

Please provide the following information regarding the FEMA trailer or mobile
home:

1. Manufacturer of trailer or mobile home: Cavalier

2. VIN: X$X$TSMH236C0888

3, FEMA Identification No.: 911908123

4. Bar Code Number on FEMA housing unit:_ 1280339

8
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 9 of 19

10.

IL.

12.

13.

14,

15.

16.

17.

18.

Was the temporary housing unit provided to you by FEMA a travel trailer
oramobile home? Travel Trailer Mobile Home []

Move-in Date: 11/2005

Move-out Date: 05/2007

Please state the mailing address and physical location for the FEMA trailer
or mobile home unit.
2012 Tuskeegee Dr Marrero, LA 70072

Was the FEMA trailer or mobile home located in a trailer park or on
private property? Private Property

State the reason you stopped living in the FEMA trailer or mobile home:
Jefferson parish made us leave

Please state the approximate square footage of the FEMA housing
unit: 320 sq ft

Please state the approximate length and width of the FEMA housing
unit:8 ft wide x 40 ft long

What is/was the average number of hours spent in the FEMA trailer or
mobile home each day? 24

Is/was the FEMA housing unit “jacked-up” on blocks (wheels off of the
ground)?
Yes No]

Is/was the FEMA housing unit hooked up to a sewer line?
Yes No {_j

Is/was the FEMA housing unit hooked up to an electrical line?
Yes NoL]

Is/was the FEMA housing unit hooked up to natural gas line?
Yes [| No

Is/was propane gas used in the FEMA housing unit?
Yes NoL]
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 10 of 19

19. How many days per week did you work outside of the home during the
time you lived in the FEMA trailer or mobile home?

20. Did you ever temporarily live in another location during the time you
resided in the FEMA trailer or mobile home:

Yes [_] No J
If “Yes,” please state the following:

Where did you temporarily live? 0/8

For what period of time did you temporarily live in another location?
n/a

B. Have any air quality tests ever been performed on your FEMA trailer or mobile
home?

Yes[_] No x]

If “Yes,” please state when the test was performed and who prepared this
testing n/a

C. Was your FEMA trailer or mobile home ever fumigated for insects or any other
reason?
Yes [] No X]
If “Yes,” please state the following:

Date and reason for fumigation: Date: na Reason: n/a

D. Were any repairs, service, or maintenance performed on your FEMA trailer or
mobile home?

Yes [Jj No

If “Yes,” please state the date and reason for repair, service or maintenance:
Date: n/a Reason: n/a

E. Please state in the chart provided below the name and present address and
telephone number of every person who resided in your FEMA trailer or mobile
home, the period of time such person resided in the FEMA trailer or mobile home
(however brief), and whether such person is making a claim for personal injury as
a result of residing in the FEMA trailer or mobile home.

10
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 11 of 19

Name Current | Current Address | Dates lived in | Making | If “Yes,” what is the
Age and Telephone the FEMA personal | nature of the
number trailer or injury personal injury?
mobile home | claim?
Arthur Clayton 2012 Tuskeegee | From 11/2005 Yes Unknown at this
Marrero, LA No [1] time
70072 To0s2007__ | Don’t
(504) 347-5408 Know []
Melwyn Clayton 2012 Tuskeegee | From 11/2005 Yes Unknown at this
Marrero, LA No [] time
70072 To 09/2007 Don’t
(504) 347-5408 Know [J
laicimz 6 2012 Tuskeegee | From 112005 =| Yes—X] ‘| Unknown at this
Marrero, LA No (J time
70072 To 052007 | Don’t
(504) 347-5408 Know (]
Brian Ciayton 24 2012 Tuskeegee | From 09/2006 Yes x] Unknown at this
Marrero, LA No O time
70072 To 05/2007 Don’t
(504) 347-5408 Know L]
From Yes[_]
No []
To Don’t
Know [ |
From Yes |_}
No LJ
To Don’t
Know [_j

VI. MEDICAL BACKGROUND

Height: 4'1"
Current Weight; 52 Ib
Weight prior to living in a FEMA trailer or mobile home: 49 Jb

Personal Smoking/Tobacco Use History: Check only the answer and that
applies to you and fill in the blanks applicable to your history of smoking
and/or tobacco use.

x]

C]

Never smoked  cigarettes/cigars/pipe
tobacco/snuff.

tobacco or used

chewing

Past smoker of cigarettes/cigars/pipe tobacco or used chewing
tobacco/snuff.

Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 12 of 19

po
*

Date on which smoking/tobacco use ended:
2. Amount smoked or used on average:
n/a perdayfor9 _ years.

[J Current smoker of cigarettes/cigars/pipe tobacco or user of chewing
‘tobacco/snuff.

1. Amount currently smoked or used on average:
Wa perdayfor9 _ years.

D. Other Smoking/Tobacco Use History:
If someone who resides or resided with you in your FEMA housing unit is

or was a smoker of cigarettes/cigars/pipe tobacco or user of chewing
tobacco/snuff, please state the following concerning their smoking history:

1. Amount smoked or used on average, if you know:
n/a perdayfor9 _ years.
2. Relationship to you: n/a
3 Please state whether the smoking occurred inside, outside or
both, n/a
E. Were you pregnant during the time in which you resided in a FEMA trailer or
mobile home?
Yes [_] No XJ

Af “Yes,” what was the date of birth: 0/a

Did your pregnancy terminate in a miscarriage or a stillborn child?
. YesC] No

F, Have you ever suffered from any of the following illnesses, diseases or abnormal

physical conditions?
1, Lung or other respiratory disease
Yes [] No &X]

If “Yes,” please indicate the following:

Name and description of each illness, disease, or abnormal condition:
n/a

The date of iliness:
n/a

2. Infectious disease (such as, tuberculosis, pneumonia, hepatitis)

12
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 13 of 19

Yes [] No —X]
if “Yes,” please indicate the following.

Name and description of each illness, disease, or abnormal condition:
wa

The date of illness:
wa

Long-term stomach or bowel disease
Yes [| No

if “Yes,” please indicate the following.

Name and description of each illness, disease, or abnormal condition:
Wa

The date of illness:
wa

Skin disease
Yes [ | No [xX]

If “Yes,” please indicate the following.

Name and description of each illness, disease, or abnormal condition:
n/a

The date of illness:
nfa

Please indicate to the best of your knowledge whether you have ever received any
of the following treatments or diagnostic procedures:

To your knowledge, have you ever had any of the following tests
performed: chest X-ray, CT scan, MRI.

Yes [] No Don’t Recall []
If “Yes,” answer the following:

Diagnostic When Treating Hospital Reason

Physician

n/a

13
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 14 of 19

L_ | J

VII. MEDICAL DIAGNOSIS

A.

Please identify the doctor or health care provider(s) who treated you for each
disease, illness or injury that you claim you (or the person you represent) suffered
as a result of living in a FEMA trailer or mobile home and the date of the
diagnosis.

Doctor’s Name: Kid West

Specialty, if any: Pediatrician

Address: 7017 Lapalco Blvd Marrero, LA 70072
Phone: __ (504) 348-7519

Treatment received: ongoing treatment being received
Dates of treatment: exact dates unknown

Doctor’s Name:
Specialty, if any:
Address:

Phone:
Treatment received:
Dates of treatment:

Doctor’s Name:
Specialty, if any:
Address:
Phone:
Treatment received:
Dates of treatment:

If you are alleging psychological symptoms or emotional problems as a result of
living in a FEMA trailer or mobile home, please identify any physician that you
have received psychological care and provide a medical records authorization.

la

Has any health care professional told you that your alleged illness, disease, or
injury is related to living in a FEMA trailer or mobile home?
Yes] No X]

If “Yes,” please provide the name and address of the health care professional.
wa

na,

14
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 15 of 19

~

VOI. DOCUMENTS

Please indicate if any of the following documents and things are currently in your
possession, custody, or control, or in the possession, custody, or control of your lawyers by
checking “Yes” or “No.” Where you have indicated “Yes,” please attach a copy of the
documents and things to your responses to this Plaintiff Fact Sheet.

A.

Records of physicians, hospitals, pharmacies, and other healthcare providers
identified in response to this Plaintiff Fact Sheet.
Yes] No

Standard Form 95 submitted to any federal agency regarding any claim related to
a FEMA trailer or mobile home, including any and all attachments.
Yes [] No '

Any test results from any testing done on your FEMA trailer or mobile home.

Yes] No x]

All bills from any physician, hospital, pharmacy, or other healthcare provider, if
you incurred related medical expenses.

Yes ["] No KX]

Any questionnaires that you have filled out to assist any individual or entity with
any testing done on your FEMA trailer or mobile home.

Yes (_] No

Decedent’s death certificate, if applicable.
Yes] NoC] N/A

Report of autopsy of decedent, if applicable.
Yes (_] No[] N/A

IX. LIST OF MEDICAL PROVIDERS AND OTHER SOURCES OF
INFORMATION

For each medical provider and pharmacy identified in Sections A through F below, please
fill out and sign and date an attached authorization. You must also sign and date five (5) blank
medical authorizations and attach them to this Form.

You must also sign and date authorizations permitting social security disability and
workers’ compensation records to be requested, to the extent applicable.

15
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 16 of 19

A. Identify your current family and/or primary care physician:

Name Address

Kid West 7017 Lapalco Blvd Marrero, LA 70072

B. Identify your primary care physicians for the last seven (7) years.

Name Address Approximate Dates

Kid West 7017 Lapaleo Blvd Marrero, LA 70072 | exact dates unknown

C. Each hospital, clinic, or healthcare facility where you have received inpatient
treatment or been admitted as a patient during the last seven (7) years.

Name Address Admission Dates Reason for
Admission

pa

D. Each hospital, clinic, or healthcare facility where you have received outpatient
treatment (including treatment in an emergency room) during the last seven (7)

years.

Name Address Admission Dates Reason for
Admission

West Jefferson Hospital | 3100 Medical Center Blvd. Marrero, Unimown at this time nausea, vomiting, sinus, ear infection

LA T0072

E. Each physician or healthcare provider from whom you have received treatment

during the last seven (7) years.
Name Address Dates of Treatment
Kid West wore MeA | exact dates unknown

16
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 17 of 19

F. Each pharmacy that has dispensed medication to during the last seven (7) years.

Name Address
Walgreen's exact street address unknown
Majoria Drugs exact street address unknown

17

Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 18 of 19

F, Each pharmacy that has dispensed medication to during the last seven (7) years.

Name Address
Jey aw 2
LKLGLEN S
ERTIFICATI:

I declare under penalty of perjury subject to 28 U.S.C. §1746 that all of the information
provided in this Plaintiff Fact Sheet is true and correct to the best of my knowledge, and that I
have supplied all the documents requested in Part VIII of this Plaintiff Fact Sheet, to the extent
that such documents are in my possession, custody, or control, or in the possession, custody, or
control of my lawyers, and that I have signed the authorizations attached to this declaration.

Lihaagy Clagilor =Meuiun Clayton w/a log
. Signature of Plaintiff Print Your Name Date

17
Case 2:07-md-01873-KDE-MBN Document 23894-6 Filed 12/14/11 Page 19 of 19

PRIVACY ACT RELEASE LANGUAGE

Meluyn Clayton
L_ Us \290\ rep of [insert name] understand that information

=
maintained by the Federal Emergency Management Agency (FEMA) and contained in

files related to disaster assistance provided to me by FEMA is subject to the Privacy
Act of 1974, 5 U.S.C. 552a. I hereby authorize FEMA to release to my attorney

_, Plaintiffs’ Liaison Counsel Justin Woods and

Gerald E. Meunier, and Defense Liaison Counsel Andrew D. Weinstock, information

contained in FEMA’s Privacy Act files related to the travel trailer or mobile home unit

provided to me by FEMA.

Name: __ (print legibly or type out name)

Signature:
